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UNITED STATES DI-STR[CT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 07-80138-€1V-MlDDLEBR()OKS/]OHNSON

SAMIRA SULLI`VAN, on her own
Behalf and others similarly situated,

Plaintiffs,
v.
LAN-A MARKS LTD, TNC., a Florida
Corporation, and LANA J. MARKS,
[ndividnally,

Defendants.

DEFEND_ANTS' RESPONSE To PLAINTIF_FS’ MoTloN
TO ENFORCE SETFLEB[ENT AGREEMENT AND FOR
ENTRY OF JU]]GMENT FOR TI-IE PLAINTIFFS
The Defendants Lana Marks LTD lnct, a Florida Corporati'on and I_.ana J. Marks,
individually by and through her undersigned attorney, files this their response to the PlaintiHl<;"
Motion to E`nforce Settlement Agreement and for Entry of Judgment for the Plaintiffs filed on
October`?:, 2007.
M
l. The Col.n't entered an Order on October lO, 200? on the Plaintiffs’ motion
to enforce the settlement agreement and for the entry of a judgment for the
Plaintit`fs and scheduled this for an evidentiary hearing to determine the

damages on Thursd-ay Noveml:)er 1, 200-ii at 4:0[} p.m. at the West Palm

Beach Courthouse.

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2. A'ccording to the civil docket ent'ries-, the D`efendants’ attorney filed
motions to withdraw on or about May 31, 2007 (DE 16) and July 24,
2007 (DE 35) and on July 2')'a 20`0? (DE 36).

3. The C_ourt denied these motions to withdraw without prejudice on July 30,
2007 (DE 40). A renew notice to withdraw We`re. filed on July 31, 2001
(DE 42).

4. The Court granted the Defendants’ attorney"s motion t0. withdraw on
Augusr. 30, 2001 (DE 43).

5. The Court ordered a rule to show cause on September 20, 2007 (DE47`).

6. The Defen'dants engaged the law firm of Frank J McKeown P.A. on or
about August 16, 2007. (Exhibit 1).

7. The Defendants’ attorney immediately made a valid offer of settlement of
this claim for $20,000_. This offer was accepted by the Plaintifts on
August 29, 2001 (Exhibit 2).

8. However, the amount in the proposed settlement agreement prepared by
the Plaintiffs and forwarded to the Det`endants’ attorney was for $22,000,
not $20,000..

9. This proposed agreement was amended by the Plaintiifs’ attorney to $20,_
330.00 which was rejected by the Defenda-nt_s on August 29, 20007 after
Defendants’ attorney brought it to the attention of the PlaintiH`s’ attorney

that the settlement figure was $2'0,00.0100.

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10. Finally_. the proposed agreement was again amended by the Plai-ntift`s’
attorney to conform with the original agreed amount of $20,000 on
Scpt`ember 4, 2001

11. On Septernber 19, 2001 the Defendan-ts’ attorney advised the Plaintift`s’
attorney the proposed settlement agreement should also reflect the issues
raised by the counterclaim and advised the Plaintift`s’ attorney that the
Defendants had delivered a check to his office in the amount of $20,000
payable to Plaintit`f"s trust fund. (jExhibit _3).

12. 011 September 19, 2001 the Defendants’ attorney advised the Plaintiffs as
to how the paragraph should be revised to accomplish a mutual settlement
agreement as to the parties making disparaging remarks about each other.

13. On Septernber 25, 2001 the Plaintit"fs" attorney advised their client was
“out of town” and to contemplate a settlement correction was not within
the terms of the agreement and was unacceptable without further
consideration to the Plaintiff. (Ex'hibil 4).

14. On S'eptember 26, 2001 the Det`enda`nts‘ attorney again advised the
Plaintiff` s attorney the revised agreement did not address the counterclaim
filed by the Defendants and should be recited in the settlement agreement
(Exbibit 5).

15. De-t`endant’s attomey continues to hold in his possession a check for
$20,000.00 and has authority to release the check upon proper revision of

the settlement agreement

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16. D_ue to the fact the monetary amount of the settlement was .acc.omplished,
except for minor revision to the proposed settlement agreement, the
Det`endants’ attomey did not filed a formal notice of appearance The
Defendant’s attorney was not copied with any of the recent pleadings until
the Defendants` attorney received a copy of the Court’s order of October
10, 2007 attached to the Plaintiffs’ Motion for Summary Damages on
October 25, 2001

11 The Plaintiffs filed a motion to enforce the settlement on October 23-, 2007
but failed to provide the Det`endants’ attorney a copy of this motion.
Although, the Defendant’s attorney at that time was not attorney of record,
the Plaintiffs’ attorney was fully aware that Defendants were represented
by this law firm and the parties had entered into a settlement of all claims
for $20,000, once the proposed settlement agreement was revised to

include the issues alleged in the counterclaim.

CONCLUSION
Defendants“ attorney entered into good faith negotiations to resolve this claim
with the Plaint_iffs. The parties reached an agreed amount of settlement Unfo'rtunately
the Plaintiffs attempted to renege on this agreement by twice increasing the Settlement
amount which was forwarded in the proposed settlement agreement to the Defendants.
When the Defendan-ts brought this to the attention of the P]aintiffs as to the agreed
settlement amount and further advised that the counterclaim had not been properly

addressed in the proposed settlement agreement, the Plaintiffs again attempted to

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unilaterally increase the settlement amount The only issue was the wording of the
proposed settlement agreement and the Defendants were requesting this proposed
agreement properly address the counterclaim

Defendants should not now be penalized or taken advantage of by the failure of
the Plaintiffs after a Settlement amount was agreed upon. To refuse to provide a properly
worded settlement agreement and therefore subject the Defendants to possible further
monetary damages when the parties entered into a settlement agreement with the

exception of the wording of the settlement agreement

Respectfully- submitted,

By:
FRANK ]. MCKEOWN, ]R., Esquirc
Florida Bar No.: 053279

 

CERT[FICATE O_F SERVICE

l HEREBY CERTIFY that a true and correct copy of the foregoing has been
electronically filed with the Clerl<, USDC, Southcrn Dist`rict and furnished cia U.S-. Mail to:
SHAVITZ LAW GROUP_, 1515 So. Fed. Hwy., Ste. 404, Boca Raton, FL 33421, on this the date of
Novemb.er 1, 2001

The law Oftice of Fr.ank ]. McKeown, ]r..P.A.
Counsel for Defendants

Concours_e Towers l - `Suite 201

2000 Palrn B`each Lal<es Boulevard

West Palm Beach, FL 334.09

Telephonc: 561.832.5650

Fd£simt`ie: 561.683.9935

By: _s/Frartk'i. McKc_own, lr.
FRANK ]. MCKEOWN, ]R., Esqu`u'c
FlO_rida Bar No.: 0532 79

Case 9:07-cv-80138-D|\/||\/| Document 57 Entered on FLSD Docket 11/01/2007 Page 6 of 12

LAW OFF.[CES OF

FRANI( J. MCKEOWN, JR., P.A.

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WEST PALM BEACH, FL 334-09

FRANK J. MCKEOWN. .lR. Telephon_e No. {561} 832~5650
BOARD CERT|F|ED CN|L TR|AL ATTURNEY (551) 688-9833
SPEC|AL|Z|NG lN EMPLOYMENT LlTlGAT|ON (561) 721-3724

Facsimi|e No. {_561} 668-9985

Augu$t 16, 2007

REGUMR U.S. MAIL AND
VIA FACSIMILE -

Mr. Greg Sheviiz

Shavitz Law Group P.A.

1515 South Federa| Highwey
Suite 404

Boca Raton, FL 33432

Re: $u//ivan v. tana Marlcs. L7D, Inc.

Dear Greg:

I have been approached by Mr`s. Lana Marks to in the above style matter.

The tile she provided me is -voiuminous. There seems to been several
attorneys involved. The purpose of this letter is to ask you to call me to see if
there is something we can do to resolve this matter at this time prior to my
enter in an appearance end have to review the entire file.

So please call me as soon as possible
Very truly yours,

Franl<_: J. McKeown, Jr.
FJMcK/m-k

EXHIBIT

_.;

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LAW OFFICES O‘F

FRAI"IK J.. MCKEOWN, JR., F.A.

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FRANK J. Mt:KEOWN, JR. Teiephone ND. {561) 832~5550
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SPEC|AL|Z|NG |N EMPLOYMENT L|TlGAT|ON (561) 721-3?24

Fac_alrni|_e Nci. (561) 685-9985

August 29, 2007

Mr. Greg Shavitz

Shavitz Law Group P.A.

1515 South Federa| Highway
Suite 404

Boca Raton, FL 33'432

Re: Su//r'van i/. Lana Marks. !_TD, Inc.

Dear Greg:

I received the emai| regarding the above settlement I negotiated with
you $20,000 for all claims. I was never made aware of an additional $380 in
commissions After we agreed on the $20,000 figure I was able with a great deal
of difficulty to convince `Ms Marks to go to the $20,000 flgure. She is sending me
a check for that amoun-t. I will not and can not under any circumstances go back
to her for another $380, as Ms. Marl<s was adamant about the $20,000 figure.

Aiso I received the fa)< of the proposed settlement agreement and
paragraph 3 would have to be changedl The check will be made out to Shavitz
Law Group P.A. Please revise that paragraph. A|so since this is a joint release
because there is a counterclaim the settlement really should recite the
counterclaim and the paragraph in there regarding the fact that the P|aintiffs will
not in the future make any adverse comments or statements regarding the
defendantsl That probably should come after paragraph 5. With these changes
I will have my client sign and forward a check with the signed release.

Very truly yours,

____

 

Franl< J. Mci<eown, Jr.

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--_~_i.._._“_

FJMcK/ml<

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LAW OFFICES OF

FRANK J. McKEowN, .m., F.A.

CCINCOURSE TOWER 1
SU|TE 701
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WEST PALM BEACH, FL 334ng

FRANK J. MCKEOWN, JR. Telephone No. {5'5`1} 832-5650
BDARD CERTIF|ED C|V||_ TR|AL ATTORNEY (551) 688-9833
SPEC|AL}ZING lN EMPLOYMENT L|T|GAT|ON (561} 721-3724

Faosimi|e No. {561] 688-9985

September 19, 2007

l/IA U.S. MAIL AND FACSIMILE
Mr. Greg Shavitz

Shavit'z Law Group P.A.

1515 South Federal Highway
Suite 404

B'oca Raton, FL 33432

Re: Su//fvan v. Marks
Dear Mr. Slavitz:

Unfortunate|y we have a major problem with the terms of the Sett|emeni;
Agreement that you provided.

It seems that recently in fact within the last two (2) weeks Ms. Mar|<s has
determined that Ms. Su||ivan has made numerous contacts with customers of
Lana Marks Ltd. Inc. |ocai|y, in the United States and internationally using Lana
Marks Ltd. Customer List which she has in her possession. Furthermore, she
has made disparaging remarks to certain individuals on Wo_rth Avenue.

Unfortunate|y this is unacceptable to my client and there is a non compete
agreement in effect

My client insists on a more specific statement and has revised Paragraph 6
as follows:

The .P|aintiffs acknowledge that the Defendant’s good reputation within
the community, United States, and worldwide is extremely important to the
Defendant. Therefor'e, the Plaintiffs specifically agree that they will not make
any disparaging remarks or encourage or induce others to make disparaging
remarks in any form of communication either verbally or in writihg. This includes

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Greg Shaviiz

Re.' Suf)'fvan vs. Marks
September 19, 2007
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not only local United States and worldwide customers of the Defendant, but
anyone at all including but not limited to current or former employees of the
Defendant. A|so, Plaintiff Su||ivan specifically agrees not to contact customers of
the Defendant’s.

This modification if acceptable would satisfy my client’s concerns about
the remarks being made by Ms. Su||ivan and the use of the customer list. As
previously stated my client has issued a check to your account which remains in
my possession until we revise the settlement agreement as set forth above.

Your immediate attention to this matter would be appreciated so we can
finally resolve this best interests of the parties.

Very truly yours,

 

Frank J. McKeown, Jr.
FJMcK/mk

Cc: Ms. Marks

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P£igc l ot`l
. "'""'-\i-
Stacay Cohan H n w nmu-mmal_-__"_;Wv
From: Stacey Cohen
sent: Tueaday. Septemoer 25. 2007 3:46 PM
To: ’frankmckaown@juno.corn'
Subject: Su|livan v. Lana Marks
Attar.hments: Suiiiv:=in-Sl (".|Fiiri=! F:i=ir:ilh=.id F.i.¢i pdf
SENT V|A FACS|Ni|LE ALSO
Frank:

My client has been out of town since your last correspondence regarding the disparagement issues
Nevertheiess. these were not terms contemplated in settlement and cannot now become terms of the _ _
Agreernent. without further compensation to my client for this additional consideration she would be providing to
l ana Marks (Not to mention the additional attorrl_i_=ysl fees that this process will require)

Notwithstanding the a_bove. your client has been and continues to be ln breach of the Agreement. | have
prepared a Niotion to Enlor¢e which will be filed before the end of the week if the check is not tom-raided to us
immediately lf after that time, your ciieritwi'shes to discuss amendments to the Agreernent. we are open to
suggestions

Thanks

Stiicey l'.l. Cohcn, Esq.

'l"he Shav'itz ]`_.iiw G.':ciup, l"._l’t.

1515 Scii.ti:h 'l""cdc.riii .H'i.ghway', Suite 404
Buci.i Ruton; l""l. 334 32

'I'L'l; (§6`1) 443-3333

Fa:t: (561) 44?'-3331

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The `m formulation c\'i»ii~.‘»ii'i\'.'i'] ii . l|il.~> i:.-muil iii subject iu i.\ii.: :ii1'0rtic)'-clic_¢'it pi.`lv`l]rigo end(‘ or the attorney work-prt')d'.'ict t:lt.tit',trinel .T.f
you are not the intended retipi¢:i:lit, nor the employee or '.'igtili' rt'spl.'n'isihlt'. tdc deliveu'iig the e-'mall to thc intended recil_:lei\i, you
tire }ii‘:ri:|)y notified 'rhiit tiny dissemination or co|_iym{_; of this transmission and any attachments is strictly p¢iil\i'.‘)itt-d. ll"'iroulmve
termed this v.-rn:u`l `m ei'coi.'-, plea se notify d'ic scndcr_by reply e»rniu'l or call (561} 44`?~8838. 'l'l:iai\li. yon`.

 

9:’25!2007

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nunn .l. mcxaowu, .m., P.A.

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SF'EClALlZ|NG |N EMPLOYMENT L|TlGATiON {561] 721-3?24
Facslmile No. (561] 688-9985

September 26, 2007

VM U..S'. MAIL AND FA QLMILE
Ms. Stacey Coiienyr Esq.

Shavitz Law Group P.A.

1515 South Federa| Highway
Suite 404

Boca Raton, FL 33432

Re.' Su//fvan v. Marks
Dear Ms Cohe.n:
We received your fa)c of September 25, 2007.

Franl\'.|yyr this communication makes no sense. A settlement is not a
settlement until an agreement is executed by ali parties. Therefore my client is

not in breach of any agreement. As to a Motion to Enforce, what do you intend
to enforce?

When we found out that your client was directly contacting Ms. Marks
customers both in the United Sta_tes and abroad and was making disparagingly
remarks about Ms_. Marks and her company. This was a reason we required the
amendment to the agreement. This amendment simply expands to the issue of
the Counterc|aim, including consideration of the non-compete signed by Ms.
Su||ivan and her use of Mark's customers list which is in her possession The
reason for this amendment was in fact contemplated in the original settlement
which you drafted but you did not take into consideration the alleged
counterclaim This was the reason we prepared the first amendment and that
was before we discovered your client continuing to be involved in making

disparagingly remarks about Ms. Marks. This activity must cease and desist
immediately.

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’Y;EB

 

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Stacey Cohen

Re: Sui"!fvan vs. Marks
September 26, 2007
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It seems ali you had to do was have your client, if she is in good faith,
stop making disparaging remarks and cease contacting customers of Ms. Marks.

The fact that your client is out of town is of no consequence In this day
and age she must be in a place where she can receive either emai|s or faxes and
all she has to do is sign the amended agreement.

Thereforeir I suggest you just have her sign the agreement as amended

and we can resolve this matter without any further communications other than
to exchange signed amended agreement. Then we will forward the checl<.

Very truly you rs,

Frank J. Mcl<eown, Jr.

 

FJMcK/mk
Cc: Ms. Marks

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